                 Case 10-02976-PGH              Doc 39       Filed 08/12/10           Page 1 of 53




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    West Palm Beach Division
                                      www.flsb.uscourts.gov

In re:                                                                CASE NO. 08-29769-PGH
GINN-LA ST. LUCIE LTD., LLLP, et al.,                                 All Cases Jointly Administered

                  Debtors.                                            Chapter 7
_______________________________________/
                                                                      (4 Cases Substantively Consolidated Under
In re:                                                                Lead Case No. 08-29769-PGH)1/
GINN-LA QUAIL WEST LTD., LLLP, et al.,
                                                                      (3 Cases Substantively Consolidated Under
                  Debtors.                                            Lead Case No. 08-29774-PGH)2/
_______________________________________/

DREW M DILLWORTH, Chapter 7 Trustee,                                  ADV. PRO. NO. 10-02976-PGH

                           Plaintiff,

                  vs.

EDWARD R. GINN III; EDWARD R. GINN III                                SECOND AMENDED COMPLAINT
REVOCABLE TRUST DATED SEPT. 14, 2002;                                 FOR AVOIDANCE AND
ERG MANAGEMENT, LLC; ERG ENTERPRISES,                                 RECOVERY OF
L.P.; IRA M. LUBERT; DEAN S. ADLER;                                   FRAUDULENT TRANSFERS
LUBERT-ADLER MANAGEMENT CO., L.P.;                                    (CORRECTED VERSION)
LUBERT-ADLER GROUP, III, L.P.;
LUBERT-ADLER REAL ESTATE FUND III, L.P.;
LUBERT-ADLER REAL ESTATE PARALLEL
FUND III, L.P.; LUBERT-ADLER CAPITAL
REAL ESTATE FUND III, L.P.;
LUBERT-ADLER GROUP IV, L.P.;
LUBERT-ADLER REAL ESTATE FUND IV, L.P.;
LUBERT-ADLER REAL ESTATE PARALLEL
FUND IV, L.P.; LUBERT-ADLER CAPITAL
REAL ESTATE FUND IV, L.P.;

         1/
           The “Tesoro Debtors’ Estates” (Nos. 08-29769-PGH, 08-29770-PGH, 08-29772-PGH, and 08-29773-PGH)
are substantively consolidated into Lead Case No. 08-29769-PGH. See Order [D.E. 308/309]. The “Tesoro Debtors,”
and the last four digits of their respective tax identification numbers, are: (i) Ginn-LA St. Lucie Ltd., LLLP – 5632;
(ii) Ginn-St Lucie GP, LLC – 0983; (iii) Tesoro Golf Club Condo., LLC – 4385; and (iv) The Tesoro Club, LLC – 1917.
See 11 U.S.C. § 342(c)(1).
         2/
            The “Quail West Debtors’ Estates” (Nos. 08-29774-PGH, 08-29775-PGH, and 08-29776-PGH) are
substantively consolidated into Lead Case No. 08-29774-PGH. See Order [D.E. 34]. The “Quail West Debtors,”
and the last four digits of their respective tax identification numbers, are: (i) Ginn-LA Quail West Ltd., LLLP – 2397;
(ii) Ginn-Quail West Beach, LLC – 9142; and (iii) Ginn-Quail West GP, LLC – 6313. See 11 U.S.C. § 342(c)(1).

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THE PRESIDENT AND FELLOWS OF
HARVARD COLLEGE; THE REGENTS OF THE
UNIVERSITY OF MICHIGAN; THE JOHN D. AND
CATHERINE T. MACARTHUR FOUNDATION;
THE MARYLAND STATE RETIREMENT &
PENSION SYSTEM; THE OHIO POLICE & FIRE
PENSION FUND; THE COMMONWEALTH OF
PENNSYLVANIA STATE EMPLOYEES’
RETIREMENT SYSTEM; THE PENNSYLVANIA
PUBLIC SCHOOL EMPLOYEES’ RETIREMENT
SYSTEM; & CAPITAL PARTNERS, L.P.;
A. DONALD MCCULLOCH, JR.; CAROLYN B.
MCCULLOCH; A.C. ISRAEL ENTERPRISES, INC.;
ADAM L. MILLER; ADOLF A. PAIER;
ALAN P. SMITH; RUTH N. SMITH;
ALAN P. SMITH, AS TRUSTEE U/D OF HAROLD
L. NEUMAN TRUST #1 DATED 11/21/69;
ALAN P. SMITH, AS TRUSTEE U/D HAROLD L.
NEUMAN TRUST #2 DATED 11/21/69;
ALAN D. LEVOW; AMACHIE KWEKU ACKAH;
AMY A. FOX; DANIEL H. WHEELER; AMY B.
ERLBAUM; ANDREW D. RUBIN; LOUISE RUBIN;
ANDREW PERRY; ANDREW GOLDMAN; ANKA
LIMITED PARTNERSHIP; ANTHONY J. CALISE,
IRA; ARTHUR MARION REVOCABLE TRUST;
AVRIL KLAFF & ALLAN REICH, AS TRUSTEES
OF THE ZARA TRUST U/T/A DATED 1/1/2006;
AVRIL KLAFF & ALLAN REICH, AS TRUSTEES
OF THE DANIEL TRUST U/T/A DATED 1/1/2006;
AVRIL KLAFF & ALLAN REICH, AS TRUSTEES
OF THE MARISSA TRUST U/T/A DATED 1/1/2006;
BAHM IV; BARBARA TOLL; BCIP ASSOCIATES
II; BLACKACRE CAPITAL PARTNERS, L.P.;
BLK INVESTMENTS, L.P.; BOB C. LADD;
BOWDOIN COLLEGE; BRETT RUBINSON;
BRUCE A. LEVY; BRUCE S. MARKS;
BONNIE KAY MARKS; BULL VENTURES
LIMITED PARTNERSHIP; C.H.A.I., LLC;
CANDACE L. SNEBERGER; CARL MARBACH;
HELEN MARBACH; CATENARY PARTNERS,
L.P.; CHAFETZ GROUP LLC; CHARLES M.
ROBINS; CHRISTINE V. KANTER;
CHRISTOPHER MOLLER; JENNIFER MOLLER;
CHRISTOPHER ASPLUNDH; CITIZENS BANK AS
CUSTODIAN, F/B/O HIRTLE CALLAGHAN
PRIVATE EQUITY FUND III, L.P.; CITY OF

                                                 -2-
                 STEARNS   WEAVER   MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
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PHILADELPHIA SINKING FUND COMMISSION,
AS TRUSTEE FOR THE PHILADELPHIA GAS
WORKS RETIREMENT RESERVE FUND;
CONNELL FAMILY PARTNERSHIP III;
CRITERION HOLDINGS, LLC; DAN NASSER;
DAVCO MANAGEMENT, LLC; DAVID
SCHLESSINGER; DAVID NAZARIAN, AS
TRUSTEE FOR THE SAMY NAZARIAN TRUST;
DAVID RAY; MARGARET CARVER; DAVID A.
BRAVER; DAVID D. KIM TRUST DATED
12/31/87; DAVID & ANGELLA NAZARIAN
FAMILY TRUST; DAVID O. OBERKIRCHER;
DAVID V. WACHS; DAVID F. LINCOLN;
DAVID A. BROWNSTEIN; DEBRA ELLEN FOX;
DEUTSCHE      BANK SHARPS PIXLEY INC.;
DEVIN ARONSTAM; DIANE C. RAY; DIANE L.
MYER REV. TRUST DATED 8/3/2001; DONALD
M. GLEKLEN; DONALD R. AUTEN; JUDITH W.
AUTEN; DONALD M. ROSEN; DREXEL
UNIVERSITY; E WACHS II, L.P.; EDMUND F.
GARNO, JR.; EDMUND F. GARNO, JR. IRA;
EDMUND F. GARNO, III; EDWARD H. ROSEN;
EDWARD J. FITZSIMMONS; EDWARD RAY;
LONNETTA G. RAY; EDWARD BOWMAN;
KATHLEEN BOWMAN; EDWARD M. SNIDER;
EDWIN J. BERKOWITZ; EMORY UNIVERSITY;
EMPLOYEES’ RETIREMENT PLAN OF
DUKE UNIVERSITY; ENGLE ASSOCIATES;
ERLBAUM FAMILY LIMITED PARTNERSHIP;
ERLBAUM INVESTMENTS, L.P.; ESTATE OF
JOSEPH A. PULEO, JR.; FEA II, L.P.;
FOSTER & FOSTER, LLC; FRANCE-MERRICK
FOUNDATION, INC.; FROG HOLLOW PARTNERS
XI, L.P.; GARFIELD REFINING COMPANY
PROFIT SHARING PLAN; GARY E. ERLBAUM;
GEORGE M. ROSS; LYN M. ROSS; GEORGE W.
KARR, JR.; GERALD A. RONON; GERALD M.
WILK; GLENVILLE CAPITAL PARTNERS, L.P.;
GLENWOOD ROAD ASSOCIATES
PARTNERSHIP; GOTHIC CORPORATION;
GRAHAM ALTERNATIVE INVESTMENT
PARTNERS I; GROUP FORE, LLC; GT REAL
PROPERTY HOLDINGS II, LLC; HARRIS
WILDSTEIN; HARVARD PRIVATE CAPITAL
REALTY, INC.; HEM PRIVATE EQUITY FUND
2000, LLC; HENRY DOLFINGER #2 T/W;

                                                 -3-
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HERSCH M. KLAFF; HMK TRUST; HOFFMAN
INVESTMENT COMPANY; HOWARD SALASIN;
HOWARD B. ASHER; HOWARD D. ROSS;
SUSAN K. HOLLENSTEIN; HUMILLS, LLC;
HYMAN R. KAHN, M.D.; IRM ASSOCIATES, LP;
IRVIN J. BOROWSKY; JAMES A. OUNSWORTH;
JAMES MERRITT SPRINGSTEAD, JR.; JAMES J.
KIM; JAMES J. KIM TRUST DATED SEPT. 30,
1992; JAMES M. SPRINGSTEAD; DIANE B.
SPRINGSTEAD; JAMES M. MEYER; JAMES W.
ZUG; JAMES M. RIORDAN; JAMES WOLF;
NANCY WOLF; JARED PRUSHANSKY;
JAVICK, L.P.; JAY PHILIP SLOVIN; JAY H.
TOLSON; JEAN ELLEN RAY; TOBIAS
SPECKBACHER; JEANNINE PULITO;
JEANNINE PULITO & NICOLE LINEHAN, AS
TRUSTEES OF THE JOHN T. FRIES DYNASTY
TRUST PNC BANK DELAWARE; JEFFREY
HONIC KM AN; J ENNIE R. BERLIANT
REVOCABLE TRUST; JEREMY ALLEN;
DEBRA ALLEN; JEWISH FEDERATION OF
GREATER PHILADELPHIA; JILCY-1, L.P.;
JILCY-6, L.P.; JLT INVESTMENTS, LP;
JOHN T. KIM TRUST DATED 12/31/87;
JOHN R. JAEB REVOCABLE TRUST DATED
7/5/2000; JOHN T. LUPTON TRUST;
JOHN ZAGARA; JOHNS HOPKINS UNIVERSITY;
JON M. LUBERT; JONATHAN B. DETWEILER, AS
TRUSTEE OF THE JONATHAN B. DETWILER
REVOCABLE TRUST, U/T/A DATED 4/29/2003;
JOSEPH F. WATERMAN; MARY JOEL
WATERMAN; JOSEPH NEUBAUER; JOSEPH R.
PAPA; JOSEPH ZAGARA; JOSEPH P. FAHEY;
K A T E P A R T N E R S , LP ; K E IB R E A U X
ASSOCIATES, LP; KEITH LOISELLE; CAROL
LOISELLE; KENNETH J. GOLD; KENNETH A.
FOX; KENNETH WAETZMAN; SHELLEY E.
WAETZMAN; KERRI SCHNEIDER; KIRSCHNER
BROTHERS PROFIT SHARING PLAN;
KLT INVESTMENTS, LP; KODAK RETIREMENT
INCOME PLAN TRUST; KOEN INVESTMENTS,
LLC; L. FREDERICK SUTHERLAND; BARBARA
H. SUTHERLAND; LARRY A. CUTLER;
SUSAN E. CUTLER; LAWRENCE CHIMERINE;
LAWRENCE S. SMITH PROFIT SHARING TRUST;
LAWRENCE S. SMITH PROFIT SHARING PLAN;

                                                  -4-
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LENNART HAGEGARD; LENORE STEINER;
LESLIE B. FRANKEL; LINDA C. MELDRUM;
LISA ROBERTS; LYNN W. BERNSTEIN;
LYONS HAR E INVESTMENTS, INC .;
LYONSHARE VENTURE CAPITAL; M. WALTER
D’ALESSIO; MANAGED CARE CONNECTION,
INC.; MARILYN WEISSMAN TRUST; MARJORIE
RAWLS ROBERTS; MARK G. CORNISH;
MARK WILDSTEIN; MARTIN D. COHEN;
MARTIN L. TRICHON; JUDITH K. TRICHON;
MARVIN N. DEMCHICK; MILDRED W.
DEMCHICK; MATTHEW I. GARFIELD; MARIE H.
GARFIELD; MAX H. KRAUS; LOIS B. KRAUS;
MAYA B. GOLDBERG; MCE FAMILY LIMITED
PARTNERSHIP; MDR II LLC; MELLON TRUST OF
NEW ENGLAND, N.A., AS TRUSTEE OF THE
KODAK RETIREMENT INCOME PLAN TRUST;
MELVIN HERRIN; MICHAEL J. CARUSO;
MICHAEL J. HAGAN; JOYCE HAGAN; MICHAEL
S. KIRSCHNER; MICHAEL C. ERLBAUM &
GARY E. ERLBAUM, AS TRUSTEES OF THE
ADAM J. ERLBAUM TRUST U/A DATED 4/4/97;
MICHAEL C. ERLBAUM; MICHAEL A. BRAVER;
MICHAEL W. MILES; MICHAEL P. MCNULTY;
MIRIAM D. GLANTZ; MONS INVESTMENTS,
LLC; NANCY S. ENGLE; NANCY J. FOX;
N E X T O N E LLC ; N IC O LE LIN E H A N ;
NORTHWESTERN UNIVERSITY; OLIVER
ERNEST ASSOCIATES, L.P.; PAMELA ESTADT;
PATRICIA GUGGENHEIM; PATRICK S. LEE;
PAUL TRAPIDO; JUDE RAY; PEACOCK
PRODUCTIONS; PENNOCK J. YEATMAN IV;
PETER S. LINDER; PETER UNNEMAN;
KATHLEEN UNNEMAN; PHILADELPHIA
INVESTMENT PARTNERSHIP I; PHILADELPHIA
HEALTH & EDUCATION CORPORATION, D/B/A
DREXEL UNIVERSITY COLLEGE OF MEDICINE;
PRINCE GEORGE’S COUNTY POLICE PENSION
PLAN; PRINCE GEORGE’S COUNTY FIRE
SERVICE PENSION PLAN; R. ERIC EMRICH;
ANGELA L. EMRICH; RANDY L PULITO; DIANE
K. PULITO; RAY FAMILY PARTNERSHIP;
RICHARD L. FREUNDLICH; RICHARD L.
FOSTER; RICHARD T. KANTER; RICHARD J.
ANTHONY, SR.; MARLENE A. ANTHONY;
RICHARD H. ROSENTHAL REVOCABLE TRUST;

                                                 -5-
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RICHARD GUGGENHEIM TESTAMENTARY
MARITAL TRUST; RICHARD LEVIN; RICHARD
GREENAWALT; ROBERT P. HAUPTFUHRER;
ROBERT A. FOX; ROBERT J. HIGGINS;
ROBERT E. KEITH, JR.; MARGOT W. KEITH;
ROBERT L. MCNEIL, III; ROBERT CROWN;
BARBARA CROWN; ROCHELLE BROAD;
ROGER J. MURPHY; BARBARA K. MURPHY;
RONALD J. ZLATOPER; BARRY O. ZLATOPER;
ROSLYN JAFFE; ROY S. NEFF; RPM SELECT
FUND, LP; RPM METROPOLITAN FUND (QP), LP;
RPM METROPOLITAN FUND, LP; RPM
OPPORTUNITY FUND, LP; RUDMAN FAMILY
LIMITED. PARTNERSHIP, L.P.; S.K.B.
INVESTORS; SADINOFF FAMILY FOUNDATION;
SADINOFF FAMILY ENTERPRISES, LLC;
SARAH M. CORNISH; SEGEL PARTNERSHIP II,
LP; SETH J. LEHR; ELLYN LEHR; SEYMOUR
SADINOFF; SHELDON M. BONOVITZ;
JILL F. BONOVITZ; SIDEWATER ASSOCIATES I;
SIDEWATER FAMILY PARTNERS;
STANLEY H. ENGLE REVOCABLE TRUST;
STEPHEN R. MICKELBERG; STEPHEN S.
PHILLIPS; MARY ANN PHILLIPS;
STEVEN H. ERLBAUM; STEVEN ROSARD;
LAURIE B. ROSARD; STRATEGIC REAL ESTATE
FUND - 2001, L.P.; STUART A. MARGULIES;
SUSAN Y. KIM TRUST DATED 12/31/87;
SUZANNE PARTNERS, L.P.; SWIRNOW L-A IV
INVESTORS, LLC; TEACHERS INSURANCE &
ANNUITY ASSOCIATION OF AMERICA;
TERRY K. WATANABE; THE WASHINGTON
UNIVERSITY; THE VANDERBILT UNIVERSITY;
THE TRUSTEES OF PRINCETON UNIVERSITY;
THE CATHOLIC BISHOP OF CHICAGO -
ENDOWMENT FUND; THE METROPOLITAN
MUSEUM OF ART; THE LONG-TERM ALAN J.
S EGEL T R U S T ; T H E R O C K E FELLER
UNIVERSITY; THE WFC TRUST; THE JAFFE
FAMILY FOUNDATION; THE MELVIN HERRIN
1992 TRUST FBO H. SCOTT HERRIN;
THE PRESIDENT & TRUSTEES OF WILLIAMS
COLLEGE; THE BARRA FOUNDATION, INC.;
THE MARILYN J. ENGLE LIVING REVOCABLE
TRUST DATED SEPT. 21, 2006; THOMAS K.
CLOETINGH; JOAN E. CLOETINGH;

                                                 -6-
                 STEARNS   WEAVER   MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
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THOMAS J EFFER S ON UNIVERSITY
ENDOWMENT FUND; THOMAS JEFFERSON
UNIVERSITY (1-PENSION); THOMAS J. KNOX;
TH O M A S P AR R INGTON; M AR Y LEE
PARRINGTON; TJJK, LLC; TRIANGLE BRIDGE
GROUP, L.P.; TRISTRAM C. COLKET, JR., AS
TRUSTEE OF THE TRISTRAM C. COLKET, JR.
REVOCABLE TRUST U/T/A DATED 02/05/2004;
TRUST U/W JOHN SVENNINGSEN;
UBS, AS CUSTODIAN FOR THE ROLLOVER IRA
OF JOHN T. FRIES; UBS, AS CUSTODIAN FOR
THE ROLLOVER IRA JOSEPH R. PAPA;
UNC INVESTMENT FUND, UR; UNISYS MASTER
TRUST; UNITED NATIONAL INSURANCE
COMPANY; UNIVERSITY OF SOUTHERN
CALIFORNIA; UNIVERSITY OF VIRGINIA
INVESTMENT MANAGEMENT COMPANY;
UNIVERSITY OF OREGON FOUNDATION; V.G.
BELL & E.V. BELL TRUST UD 12/16/92 SV;
VALMORA PARTNERS, L.P.; VALMORA
PARTNERS II, L.P.; VESTAL VENTURE CAPITAL;
VESTAL VENTURE CAPITAL II; VESTAL
VENTURE CAPITAL III; VINCENT G. BELL, JR.;
ELAINE V. BELL; VSP GROUP; W. KIRK
WYCOFF; WARLEN L.P.; WAYNE D. BLOCH;
SHEREE I. BLOCH; WELLESLEY COLLEGE;
WFC HOLDINGS CORPORATION; WILLIAM J.
STALLKAMP; WILLIAM HARRAL, III;
WILLIAM MARSH RICE UNIVERSITY;
Y & S NAZARIAN REVOCABLE TRUST, UTD
DATED 9/2/2003; YALE UNIVERSITY;
YALE UNIVERSITY RETIREMENT PLAN FOR
STAFF EMPLOYEES; YALE UNIVERSITY
RETIREE HEALTH BENEFITS COVERAGE
TRUST; AND JOHN DOES 1-50,

                  Defendants.
_______________________________________/




                                                 -7-
                 STEARNS   WEAVER   MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
     MUSEUM TOWER, 150 WEST FLAGLER STREET, MIAMI, FLORIDA 33130         @   TELEPHONE (305) 789-3200
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                                SECOND AMENDED COMPLAINT
                                   (CORRECTED VERSION)

        Plaintiff, Drew M. Dillworth (“Trustee Dillworth”), in his capacity as Chapter 7 Trustee for

the Tesoro Debtors’ Estates and the Quail West Debtors’ Estates, based upon information and belief,

and as a result of his investigation to date, hereby sues the Defendants enumerated above,

and alleges:

                                            INTRODUCTION

        1.        Through this action, Trustee Dillworth seeks to avoid and recover for a series of

fraudulent transfers made to or for the benefit of Edward R. “Bobby” Ginn III (“Ginn”),

Lubert-Adler Management Company, L.P., d/b/a Lubert-Adler Partners, L.P. (“Lubert-Adler”),

and others involved in the financing and development of the luxury residential communities

known as Tesoro and Quail West, located in Port St. Lucie, Florida, and near Naples, Florida,

respectively.3/

        2.        During the time periods in question, Ginn and the Lubert-Adler-managed equity funds

commonly referred to as “Lubert-Adler Funds III & IV” owned the assets which make up

the Tesoro and Quail West Projects through a number of holding companies and other subsidiaries,

including the entities identified above as the Tesoro Debtors and the Quail West Debtors

(collectively, the “Debtors”).4/




        3/
         The individuals and entities from which recovery is sought in this proceeding are identified more fully
beginning on page 12, infra.
        4/
          The Tesoro Debtors, i.e., Ginn-LA St. Lucie Ltd., Ginn-St Lucie GP, Tesoro Golf Club Condominium, and
The Tesoro Club, were the “project-level” subsidiaries created to hold, develop, and operate the Tesoro Project.
The Quail West Debtors, i.e., Ginn-LA Quail West Ltd., Ginn-Quail West Beach, and Ginn-Quail West GP,
were the “project-level” subsidiaries created to hold, develop, and operate the Quail West Project.

                                                      -8-
                     STEARNS   WEAVER   MILLER   WEISSLER    ALHADEFF   &   SITTERSON,   P.A.
        MUSEUM TOWER, 150 WEST FLAGLER STREET, MIAMI, FLORIDA 33130           @   TELEPHONE (305) 789-3200
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        3.       As discussed more fully below, originally, Ginn and Lubert-Adler had intended to use

Tesoro and Quail West lot sales to finance the completion of the Tesoro and Quail West Projects.

        4.       During the latter part of October 2005, however, Hurricane Wilma struck, impacting

both the developments themselves and the real estate markets in the areas in which they are located.

        5.       That, in turn, prompted Ginn and Lubert-Adler to seek an alternate means to finance

the remainder of the projects.

        6.       Ginn and Lubert-Adler found something even better (for them) in Credit Suisse,

which was at that point offering a new syndicated loan product to owners of high-end developments

designed to enable the owners to “recapitalize” and take “profits” from their projects long before

the projects were to be completed. As explained by U.S. Bankruptcy Judge Ralph B. Kirscher:

        In 2005, Credit Suisse was offering a new financial product for sale. It was offering
        the owners of luxury second-home developments the opportunity to take their
        profits up front by mortgaging their development projects to the hilt. Credit Suisse
        would loan the money . . ., earn a substantial fee, and sell off most of the credit to
        loan participants. The development owners would take most of the money out
        as a profit dividend, leaving their developments saddled with enormous debt.
        Credit Suisse and the development owners would benefit, while their developments
        – and especially the creditors of the developments – bore all the risk of loss.
        This newly developed syndicated loan product enriched Credit Suisse, its
        employees[,] and more than one luxury development owner, but it left the
        developments too thinly capitalized to survive. Numerous entities that received
        Credit Suisse’s syndicated loan product have failed financially, including . . . Ginn.
        If the foregoing developments were anything like this case, they were doomed to
        failure once they received their loans [and made the transfers contemplated thereby].

In re Yellowstone Mountain Club, LLC (Official Comm. of Unsecured Creditors v. Credit Suisse),

Case No. 08-61570-11-RBK, Adv. Pro. No. 09-00014, Partial & Interim Order, 05/13/09,

reported at 2009 WL 3094930, at *8 (Bankr. D. Mont. May 13, 2009) [DE289].5/




        5/
          At Credit Suisse’s behest, the Partial & Interim Order quoted above was subsequently vacated pursuant to a
settlement agreement. See Stipulation, 06/29/09 [DE297]; Orders, 06/29/09 [DE298, 299].

                                                        -9-
                      STEARNS   WEAVER    MILLER   WEISSLER    ALHADEFF   &   SITTERSON,   P.A.
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        7.      In the case of Ginn and Lubert-Adler, Credit Suisse offered the opportunity

to “recapitalize” and take “profits” out of five luxury residential development projects, including:

Tesoro; Quail West; The Hammock Beach River Club / Gardens (Palm Coast, Florida);

Laurelmor (North Carolina); and Ginn sur Mer (The Bahamas) (collectively, the “Projects”).

        8.      The ensuing loan transaction was ultimately consummated in June of 2006,

and proceeded as follows:

        •       Credit Suisse loaned $675 million to a pair of shell companies created to
                “recapitalize” the Projects, with the Debtors and the affiliated subsidiaries
                created to hold and develop the other Projects (the “Other Project Entities”)
                serving as “Full Recourse Borrowing Parties” (i.e., co-borrowers);

        •       Credit Suisse took a substantial fee, in excess of $15 million, and sold off
                most if not all of the credit to loan participants;

        •       Existing third-party debt of approximately $158 million was replaced with
                new debt;

        •       Ginn and the Lubert-Adler entities took out and paid themselves and their
                investors over $323 million, as “return of capital contributions,” “interest,”
                “preferred return,” and/or “profit”; and

        •       Each of the Debtors and Other Project Entities was required to issue a
                guaranty on the full amount of the loans, and to grant liens on substantially
                all of its assets.

In other words, as in the situation before Judge Kirscher, the transaction was structured such that

“Credit Suisse and the development owners [here, Ginn and Lubert-Adler] would benefit, while their

developments – and especially the creditors of the developments – bore all the risk of loss.”

        9.      Indeed, through the loan transaction, Ginn and the Lubert-Adler entities not only

enriched themselves and their investors at the expense of the Debtors and Other Project Entities,

they effectively looted the Debtors and Other Project Entities and shifted the risks associated with

the Projects to creditors, leaving those creditors with a virtual certainty of loss.



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                    STEARNS   WEAVER   MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
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       10.     According to Ginn / Lubert-Adler records obtained prior to filing this action,

of the loan proceeds that Ginn and the Lubert-Adler entities took out for themselves and their

investors, the Tesoro and Quail West Debtors were credited with having borrowed $148,828,198.14.

       11.     The Debtors’ transfer of that $148 million, and of the guaranties and liens they were

required to issue in connection with the loan transaction, was made with actual intent to hinder,

delay, and/or defraud present and future creditors. In addition, the Debtors also did not receive

either fair consideration or reasonably equivalent value for the transfer of that $148 million,

or for the guaranties and liens they were required to issue in connection with the loan transaction.

To the contrary, if the Debtors were not already insolvent at the time of the transfers, they were

rendered insolvent thereby, and were left much too thinly capitalized to survive.

       12.     On December 23, 2008, after a series of defaults and efforts to restructure the loans,

each of the Debtors filed a voluntary petition under Chapter 7 of the Bankruptcy Code.

       13.     Later that day, the U.S. Trustee’s Office appointed Trustee Dillworth as the interim

Chapter 7 Trustee of the Tesoro and Quail West Debtors’ Estates (the “Debtors’ Estates”).

       14.     No trustee was elected at the subsequent Meeting of Creditors held in accordance with

11 U.S.C. § 341; thus, pursuant to 11 U.S.C. § 702, Trustee Dillworth is the duly appointed,

qualified, and acting Chapter 7 Trustee for the Debtors’ Estates.

       15.     In that capacity, Trustee Dillworth seeks to avoid, pursuant to 11 U.S.C. § 544(b) and

applicable state law, the Debtors’ transfer of the $148 million in loan proceeds referenced above,

as well as the guaranties and liens issued in connection with the loan transaction; and to recover,

pursuant to § 550(a), on behalf of and for the benefit of the Debtors’ Estates, the value of the

property interests transferred, from the entities to whom or for whose benefit said property interests

were transferred.


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                                JURISDICTION AND VENUE

       16.     This adversary proceeding arises under the above-captioned jointly administered

Chapter 7 cases. It is, therefore, a core proceeding within the meaning of 28 U.S.C. § 157.

       17.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 157 and 1334.

Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          THE PARTIES

       18.     The Plaintiff is Drew M. Dillworth, in his capacity as Chapter 7 Trustee for the

Tesoro Debtors’ Estates and the Quail West Debtors’ Estates.

       19.     Defendant Edward R. Ginn III (“Ginn”) is an individual who specializes in

land acquisition, real estate development, and related matters.

       20.     Defendant Edward R. Ginn III is sued herein both individually and in his capacity as

Trustee of the Edward R. Ginn III Revocable Trust dated September 14, 2002.

       21.     Defendant Edward R. Ginn III Revocable Trust dated September 14, 2002, is a Trust

which held a 99% interest in Defendant ERG Enterprises, L.P.

       22.     Defendant ERG Management, LLC, is a South Carolina limited liability company

which held the remaining 1% interest in Defendant ERG Enterprises, L.P.

       23.     Defendant ERG Enterprises, L.P., is a Georgia limited partnership which held a 20%

equity interest in the Tesoro and Quail West Debtors.

       24.     For convenience, Edward R. Ginn III, the Edward R. Ginn III Revocable Trust dated

September 14, 2002, ERG Management, LLC, and ERG Enterprises, L.P. are referred to herein as

the “Ginn Defendants.”




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       25.     Defendant Ira M. Lubert (“Lubert”) is an individual who co-founded and serves as

the Chairman of Lubert-Adler Management Co., L.P., d/b/a Lubert-Adler Partners, L.P.

       26.     Defendant Dean S. Adler (“Adler”) is an individual who co-founded and serves as

the C.E.O. of Lubert-Adler Management Co., L.P., d/b/a Lubert-Adler Partners, L.P.

       27.     Defendant Lubert-Adler Management Co., L.P., d/b/a Lubert-Adler Partners, L.P.,

is a Delaware limited partnership which provides management and other related services to the

Lubert-Adler “Group” and “Fund” Entities.

       28.     Defendant Lubert-Adler Group III, L.P., is a Delaware limited partnership

which serves as the General Partner of Defendants Lubert-Adler Real Estate Fund III, L.P.,

Lubert-Adler Real Estate Parallel Fund III, L.P., and Lubert-Adler Capital Real Estate Fund III, L.P.

(the “Lubert-Adler Fund III Entities”), Delaware limited partnerships which, collectively, held

an 80% equity interest in the Tesoro Debtors, and a 40% equity interest in the Quail West Debtors.

       29.     Defendant Lubert-Adler Group IV, L.P., is a Delaware limited partnership

which serves as the General Partner of Defendants Lubert-Adler Real Estate Fund IV, L.P.,

Lubert-Adler Real Estate Parallel Fund IV, L.P., and Lubert-Adler Capital Real Estate Fund IV, L.P.

(the “Lubert-Adler Fund IV Entities”), Delaware limited partnerships which, collectively, held

a 40% equity interest in the Quail West Debtors.

       30.     For convenience, Ira M. Lubert, Dean S. Adler, Lubert-Adler Management Co., Inc.,

Lubert-Adler Group III, L.P., the Lubert-Adler Fund III Entities, Lubert-Adler Group IV, L.P., and

the Lubert-Adler Fund IV Entities are referred to herein as the “Lubert-Adler Defendants.”




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       31.     The Defendants listed below have been identified by Lubert-Adler as investors in

Lubert-Adler Real Estate Fund III, L.P.:

        Lubert-Adler Group III, L.P.
        & Capital Partners, L.P.
        A. Donald McCulloch, Jr. & Carolyn B. McCulloch,
        as Tenants by the Entireties
        Adam L. Miller
        Adolf A. Paier
        Alan P. Smith & Ruth N. Smith, as Tenants by the Entireties
        Amachie Kweku Ackah
        Amy A. Fox & Daniel H. Wheeler, as Tenants by the Entireties
        Andrew Perry
        BAHM IV
        Blackacre Capital Partners, L.P.
        Bruce A. Levy
        Bull Ventures Limited Partnership
        C.H.A.I., LLC
        Candace L. Sneberger
        Catenary Partners, L.P.
        Chafetz Group LLC
        Charles M. Robins
        Christopher Moller & Jennifer Moller, as Joint Tenants With Right of Survivorship
        Citizens Bank as Custodian, F/B/O Hirtle Callaghan Private Equity Fund III, L.P.
        City of Philadelphia Sinking Fund Commission, as Trustee for
        The Philadelphia Gas Works Retirement Reserve Fund
        Commonwealth of Pennsylvania State Employees’ Retirement System (SERS)
        Connell Family Partnership III
        Dan Nasser
        David & Angella Nazarian Family Trust
        David A. Brownstein
        David F. Lincoln
        Dean Adler


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 Debra Ellen Fox
 Deutsche Bank Sharps Pixley Inc.
 Devin Aronstam
 Drexel University
 Edward H. Rosen
 Edward J. Fitzsimmons
 Edwin J. Berkowitz
 Employees’ Retirement Plan of Duke University
 Engle Associates
 Erlbaum Family Limited Partnership
 Erlbaum Investments, L.P.
 Estate of Joseph A. Puleo, Jr.
 FEA II, L.P.
 Gary E. Erlbaum
 George M. Ross
 George W. Karr, Jr.
 Gerald A. Ronon
 Gerald M. Wilk
 Glenville Capital Partners, L.P.
 Glenwood Road Associates Partnership
 Gothic Corporation
 GT Real Property Holdings II, LLC
 Howard D. Ross & Susan K. Hollenstein
 Howard Salasin
 Hyman R. Kahn, M.D.
 Ira M. Lubert
 Irvin J. Borowsky
 James A. Ounsworth
 James J. Kim Trust dated September 30, 1992
 James M. Meyer
 James M. Riordan
 James W. Zug


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            STEARNS    WEAVER     MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
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 Jared Prushansky
 Javick, L.P.
 Jay H. Tolson
 Jay Philip Slovin
 Jewish Federation of Greater Philadelphia
 JILCY-1, L.P.
 John Zagara
 Jonathan B. Detwiler, as Trustee for the Jonathan B. Detwiler Revocable Trust, U/T/A
 dated 4/29/2003
 Joseph F. Waterman & Mary Joel Waterman
 Joseph Neubauer
 Joseph P. Fahey
 Joseph Zagara
 Kate Partners, LP
 Keibreaux Associates, LP
 Kenneth A. Fox
 Kerri Schneider
 Kirschner Brothers Profit Sharing Plan
 Kodak Retirement Income Plan Trust
 Koen Investments, LLC
 Lawrence Chimerine
 Lawrence S. Smith Profit Sharing Trust
 Lisa Roberts
 Lyonshare Venture Capital
 Marilyn Weissman Trust
 Marvin N. Demchick & Mildred W. Demchick
 Maryland State Retirement & Pension System
 MCE Family Limited Partnership
 MDR II LLC
 Michael A. Braver
 Michael J. Caruso
 Michael J. Hagan



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            STEARNS   WEAVER   MILLER   WEISSLER    ALHADEFF   &   SITTERSON,   P.A.
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 Michael P. McNulty
 Michael W. Miles
 Miriam D. Glantz
 Nancy J. Fox
 Ohio Police & Fire Pension Fund
 Patrick S. Lee
 Pennock J. Yeatman IV
 The Pennsylvania Public School Employees’ Retirement System (PSERS)
 Philadelphia Health & Education Corporation,
 d/b/a Drexel University College of Medicine
 Philadelphia Investment Partnership I
 Prince George’s County Fire Service Pension Plan
 Prince George’s County Police Pension Plan
 R. Eric Emrich & Angela L. Emrich
 Richard Greenawalt
 Richard L. Foster
 Richard Levin
 Richard T. Kanter
 Robert A. Fox
 Robert E. Keith, Jr. & Margot W. Keith, as Tenants by the Entireties
 Robert J. Higgins
 Robert P. Hauptfuhrer
 Ronald J. Zlatoper & Barry O. Zlatoper, as Tenants by the Entireties
 Roslyn Jaffe
 Roy S. Neff
 Rudman Family Limited Partnership, L.P.
 David Nazarian, as Trustee for the Samy Nazarian Trust
 Sheldon M. Bonovitz & Jill F. Bonovitz, as Tenants by the Entireties
 Stanley H. Engle Revocable Trust
 Steven Rosard & Laurie B. Rosard, as Joint Tenants With Right of Survivorship
 Steven H. Erlbaum
 Strategic Real Estate Fund - 2001, L.P.



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 Stuart A. Margulies
 Suzanne Partners, L.P.
 Terry K. Watanabe
 The Jaffe Family Foundation
 The Long-Term Alan J. Segel Trust
 The Regents of the University of Michigan
 The Trustees of Princeton University
 The Vanderbilt University
 The WFC Trust
 Thomas J. Knox
 Thomas Jefferson University (1 - Pension)
 Thomas Jefferson University Endowment Fund
 Thomas K. Cloetingh
 TJJK, LLC
 Triangle Bridge Group, L.P.
 UBS, Custodian for the Rollover IRA John T. Fries
 UBS, Custodian for the Rollover IRA Joseph R. Papa
 Unisys Master Trust
 United National Insurance Company
 Valmora Partners, L.P.
 Vestal Venture Capital
 Vincent G. Bell, Jr.
 Warlen L.P.
 WFC Holdings Corporation
 William J. Stallkamp

 Y & S Nazarian Revocable Trust, UTD dated 9/2/2003
 Yale University




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       32.     The Defendants listed below have been identified by Lubert-Adler as investors in

Lubert-Adler Real Estate Parallel Fund III, L.P.:

        Lubert-Adler Group III, L.P.
        A.C. Israel Enterprises, Inc.
        Michael C. Erlbaum & Gary E. Erlbaum, as Trustees of
        the Adam J. Erlbaum Trust U/A dated 4/4/97
        Avril Klaff & Allan Reich, as Trustees of the Daniel Trust U/T/A dated 1/1/2006
        Avril Klaff & Allan Reich, as Trustees of the Marissa Trust U/T/A dated 1/1/2006
        Avril Klaff & Allan Reich, as Trustees of the Zara Trust U/T/A dated 1/1/2006
        Brett Rubinson
        David Ray
        David V. Wachs
        Diane C. Ray
        Donald M. Gleklen
        Donald R. Auten
        Edmund F. Garno, III
        Edmund F. Garno, Jr. IRA
        Edward Bowman & Kathleen Bowman
        Edward Ray & Lonnetta G. Ray
        Edward Ray & Lonnetta G. Ray #2 (PD).
        Edward Ray & Lonnetta G: Ray #3 (WD)
        Garfield Refining Company Profit Sharing Plan
        HMK Trust
        Hoffman Investment Company
        James Merritt Springstead, Jr.
        Jean Ellen Ray
        Jeannine Pulito
        Jeffrey Honickman
        Jennie R. Berliant Revocable Trust
        JILCY-6, L.P.
        Jeannine Pulito & Nicole Linehan, as Trustees of
        The John T. Fries Dynasty Trust PNC Bank Delaware


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                    STEARNS   WEAVER     MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
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        Joseph R. Papa
        Kenneth Waetzman & Shelley E. Waetzman
        Kenneth J. Gold
        Lennart Hagegard
        M. Walter D’Alessio
        Managed Care Connection, Inc.
        Martin D. Cohen
        Matthew I. Garfield
        Max H. Kraus & Lois B. Kraus
        Maya B. Goldberg
        Nicole Linehan
        Paul Trapido & Jude Ray
        Peacock Productions
        Ray Family Partnership
        Richard H. Rosenthal Revocable Trust
        Roger J. Murphy & Barbara K. Murphy
        S.K.B. Investors
        Sadinoff Family Enterprises, LLC
        Seth J. Lehr


       33.     The Defendants listed below have been identified by Lubert-Adler as investors in

Lubert-Adler Capital Real Estate Fund III, L.P.:

        Lubert-Adler Group III, L.P.
        The President and Fellows of Harvard College, through Harvard Private Capital Realty, Inc.


       34.     For convenience, the investors in the Lubert-Adler Fund III Entities are referred to

herein as the “Lubert-Adler Fund III Investors.”




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       35.     The Defendants listed below have been identified by Lubert-Adler as investors in

Lubert-Adler Real Estate Fund IV, L.P.:

        Lubert-Adler Group IV, L.P.
        Michael C. Erlbaum & Gary E. Erlbaum, as Trustees of
        The Adam J. Erlbaum Trust U/A dated 4/4/97
        Amy A. Fox & Daniel H. Wheeler
        BCIP Associates II
        Bob C. Ladd
        Bowdoin College
        Commonwealth of Pennsylvania State Employees’ Retirement System (SERS)
        David & Angella Nazarian Family Trust
        David D. Kim Trust dated 12/31/87
        Debra Ellen Fox
        Emory University
        Employees’ Retirement Plan of Duke University
        Erlbaum Family Limited Partnership
        Erlbaum Investments, L.P.
        FEA II, L.P.
        France-Merrick Foundation, Inc.
        Frog Hollow Partners XI, L.P.
        Gary E. Erlbaum
        Gothic Corporation
        Graham Alternative Investment Partners I
        GT Real Property Holdings II, LLC
        The President and Fellows of Harvard College, through Harvard Private Capital Realty, Inc.
        James J. Kim
        John D. & Catherine T. MacArthur Foundation
        John T. Kim Trust dated 12/31/87
        John T. Lupton Trust
        Johns Hopkins University
        Joseph Neubauer




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 Mellon Trust of New England, N.A., as Trustee of
 The Kodak Retirement Income Plan Trust
 Michael C. Erlbaum
 Northwestern University
 The Pennsylvania Public School Employees’ Retirement System (PSERS)
 Robert A. Fox
 RPM Metropolitan Fund (QP), LP
 RPM Metropolitan Fund, LP
 RPM Opportunity Fund, LP
 RPM Select Fund, LP
 Steven H. Erlbaum
 Susan Y. Kim Trust dated 12/31/87
 Teachers Insurance & Annuity Association of America
 The Catholic Bishop of Chicago - Endowment Fund
 The Metropolitan Museum of Art
 The President & Trustees of Williams College
 The Regents of the University of Michigan
 The Rockefeller University
 The Trustees of Princeton University
 The Vanderbilt University
 The Washington University
 UNC Investment Fund, UR
 University of Oregon Foundation
 University of Southern California
 University of Virginia Investment Management Company
 Warlen L.P.
 Wellesley College
 WFC Holdings Corporation
 William Marsh Rice University
 Y & S Nazarian Revocable Trust, UTD dated 9/2/2003
 Yale University
 Yale University Retiree Health Benefits Coverage Trust
 Yale University Retirement Plan for Staff Employees

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       36.    The Defendants listed below have been identified by Lubert-Adler as investors in

Lubert-Adler Real Estate Parallel Fund IV, L.P.:

        Lubert-Adler Group IV, L.P.
        Alan D. Levow
        Alan P. Smith, as Trustee U/D of Harold L. Neuman Trust #1 dated 11/21/69
        Alan P. Smith, as Trustee U/D Harold L. Neuman Trust #2 dated 11/21/69
        Andrew D. Rubin & Louise Rubin
        Andrew Goldman
        Andrew Perry
        ANKA Limited Partnership
        Anthony J. Calise, IRA
        Barbara Toll
        Bruce S. Marks & Bonnie Kay Marks
        Carl Marbach & Helen Marbach
        Charles M. Robins
        Christopher Asplundh
        David A. Braver
        David Ray & Margaret Carver
        David Schlessinger
        Diane C. Ray
        Diane L. Myer Rev. Trust dated 8/3/01
        Donald R. Auten & Judith W. Auten
        Edward Bowman & Kathleen Bowman
        Edward M. Snider
        Edward Ray & Lonnetta G. Ray
        Group Fore, LLC
        HEM Private Equity Fund 2000, LLC
        IRM Associates, LP
        Irvin J. Borowsky
        James Wolf & Nancy Wolf
        James M. Springstead & Diane B. Springstead
        Jean Ellen Ray & Tobias Speckbacher
        Jennie R. Berllant Revocable Trust
        Jeremy Allen & Debra Allen



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 JLT Investments, LP
 John R. Jaeb Revocable Trust dated 7/5/2000
 Keith Loiselle & Carol Loiselle
 KLT Investments, LP
 Lennart Hagegard
 Lenore Steiner
 Leslie B. Frankel
 Linda C. Meldrum
 Lisa Roberts
 Lynn W. Bernstein
 Lyonshare Investments, Inc.
 Marilyn Weissman Trust
 Marjorie Rawls Roberts
 Mark Wildstein
 Martin L. Trichon & Judith K. Trichon, as Husband & Wife
 Maya B. Goldberg
 Melvin Herrin
 Pamela Estadt
 Patricia Guggenheim
 Paul Trapido & Jude Ray
 Ray Family Partnership
 Richard Guggenheim Testamentary Marital Trust
 Richard H. Rosenthal Revocable Trust
 Richard J. Anthony, Sr. & Marlene A. Anthony
 Richard T. Kanter
 Robert Crown & Barbara Crown
 S.K.B. Investors
 Sadinoff Family Enterprises, LLC
 Sadinoff Family Foundation
 Seymour Sadinoff
 Stephen R. Mickelberg
 Terry K. Watanabe
 The Melvin Herrin 1992 Trust FBO H. Scott Herrin
 Thomas Parrington & Mary Lee Parrington
 Tristram C. Colket, Jr., as Trustee of the Tristram C. Colket, Jr. Revocable Trust U/T/A
 dated 02/05/2004


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            STEARNS    WEAVER   MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
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        Trust U/W John Svenningsen
        Vestal Venture Capital III
        VSP Group
        W. Kirk Wycoff

       37.     The Defendants listed below have been identified by Lubert-Adler as investors in

Lubert-Adler Capital Real Estate Fund IV, L.P.:

        Lubert-Adler Group IV, L.P.
        Adolf A. Paier
        Alan P. Smith & Ruth N. Smith, as Tenants by the Entireties
        Amy B. Erlbaum
        Arthur Marion Revocable Trust
        BLK Investments, L.P.
        Bruce A. Levy
        Chafetz Group LLC
        Christine V. Kanter
        Criterion Holdings, LLC
        Davco Management, LLC
        David O. Oberkircher
        Donald M. Rosen
        E WACHS II, L.P.
        Edmund F. Garno, III
        Edmund F. Garno, Jr.
        Edward J. Fitzsimmons
        Edwin J. Berkowitz
        Engle Associates
        Foster & Foster, LLC
        Garfield Refining Company Profit Sharing Plan
        George M. Ross & Lyn M. Ross
        George W. Karr, Jr.
        Glenwood Road Associates Partnership
        Harris Wildstein
        Henry Dolfinger #2 T/W
        Hersch M. Klaff
        Hoffman Investment Company

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                   STEARNS     WEAVER   MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
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 Howard B. Asher
 Howard D. Ross & Susan K. Hollenstein
 Humills, LLC
 Hyman R. Kahn, M.D.
 James A. Ounsworth
 James M. Meyer
 Javick, L.P.
 JILCY-1, L.P.
 JILCY-6, L.P.
 Jon M. Lubert
 Jonathan B. Detweiler, as Trustee of the Jonathan B. Detwiler Revocable Trust, U/T/A
 dated 4/29/2003
 Joseph F. Waterman & Mary Joel Waterman
 Keibreaux Associates, LP
 Kirschner Brothers Profit Sharing Plan
 Koen Investments, LLC
 L. Frederick Sutherland & Barbara H. Sutherland
 Larry A. Cutler & Susan E. Cutler
 Lawrence Chimerine
 Lawrence S. Smith Profit Sharing Plan
 Mark G. Cornish
 Matthew I. Garfield & Marie H. Garfield
 MDR II LLC
 Michael J. Hagan & Joyce Hagan
 Michael J. Caruso
 Michael P. McNulty
 Michael S. Kirschner
 Mons Investments, LLC
 Nancy S. Engle
 Nextone LLC
 Oliver Ernest Associates, L.P.
 Peacock Productions
 Peter Unneman & Kathleen Unneman
 Peter S. Linder
 R. Eric Emrich & Angela L. Emrich
 Randy L Pulito & Diane K. Pulito


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            STEARNS     WEAVER    MILLER   WEISSLER   ALHADEFF   &   SITTERSON,   P.A.
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        Richard L. Foster
        Richard L. Freundlich
        Richard Levin
        Robert E. Keith, Jr. & Margot W. Keith, as Tenants by the Entireties
        Robert L. McNeil, III
        Robert P. Hauptfuhrer
        Rochelle Broad
        Ronald J. Zlatoper & Barry O. Zlatoper
        Roy S. Neff
        Sarah M. Cornish
        Segel Partnership II, LP
        Seth J. Lehr & Ellyn Lehr
        Sheldon M. Bonovitz & Jill F. Bonovitz, as Tenants by the Entireties
        Sidewater Associates I
        Sidewater Family Partners
        Stanley H. Engle Revocable Trust
        Stephen R. Mickelberg
        Stephen S. Phillips & Mary Ann Phillips
        Steven Rosard & Laurie B. Rosard, as Joint Tenants With Right of Survivorship
        Swirnow L-A IV Investors, LLC
        The Barra Foundation, Inc.
        The Marilyn J. Engle Living Revocable Trust dated September 21, 2006
        Thomas J. Knox
        Thomas K. Cloetingh & Joan E. Cloetingh
        TJJK, LLC
        Triangle Bridge Group, L.P.
        V.G. Bell & E.V. Bell Trust UD 12/16/92 SV
        Valmora Partners II, L.P.
        Vestal Venture Capital II
        Vincent G. Bell, Jr. & Elaine V. Bell
        Wayne D. Bloch & Sheree I. Bloch, as Joint Tenants With Right of Survivorship
        William Harral, III

       38.     For convenience, the investors in the Lubert-Adler Fund IV Entities are referred to

herein as the “Lubert-Adler Fund IV Investors.”


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       39.     With respect to the transfers for which avoidance and recovery is sought in this case,

each of the individuals and entities named as Defendants herein was either an initial transferee or

entity for whose benefit a transfer was made within the meaning of 11 U.S.C. § 550(a)(1);

or, alternatively, an immediate or mediate transferee within the meaning of 11 U.S.C. § 550(a)(2).

       40.     Defendants John Does 1-50 are as-yet-unidentified persons and/or entities which,

with respect to the transfers for which avoidance and recovery is sought herein, also satisfy the

requirements of 11 U.S.C. §§ 550(a)(1) or 550(a)(2).

       41.     Once discovery is obtained with respect to the loan proceed distributions at issue,

leave will be sought to substitute as a defendant any person or entity which is an initial transferee

or entity for whose benefit such transfers were made within the meaning of 11 U.S.C. § 550(a)(1),

or an immediate or mediate transferee within the meaning of 11 U.S.C. § 550(a)(2).

       42.     The Defendants are properly joined in this action pursuant to Fed. R. Civ. P. 20,

made applicable by Fed. R. Bankr. P. 7020, because the right to relief asserted against all Defendants

arises out of the same transaction or occurrence, and questions of law and fact common to all

Defendants will arise in this action.




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                                  GENERAL ALLEGATIONS

       A.      The Ginn / Lubert-Adler Development Known as Tesoro

       43.     Tesoro is a 1,400 acre private community and club located near the St. Lucie River,

in Port St. Lucie, Florida.

       44.     Ginn and the Lubert-Adler Fund III Entities purchased the land for Tesoro through

a number of subsidiaries, between 2001 and 2003.

       45.     Construction of the first phase of Tesoro – “Tesoro West” – was completed in 2004.

It consisted of 470 single family residential lots and a number of amenities, including a small

clubhouse, golf shop, and an 18 hole golf course.

       46.     Construction of the second phase – “Tesoro East” – began shortly thereafter.

It was to include an additional 453 single family residential lots, 100 villa-style condominium units,

and a number of amenities, including a larger clubhouse with a restaurant, ballroom, spa, fitness

center, and pool, a tennis complex, two additional 18 hole golf courses, and an off-site beach club

on Hutchinson Island, with a restaurant, grille, exercise room, surf shop, elevated pool, cabanas, and

private beach access.

       B.      Quail West

       47.     Quail West is a 1,180 acre private community and club located east of Interstate 75,

along the border between Collier and Lee Counties, near Naples, Florida.

       48.     Ginn and the Lubert-Adler Fund III & IV Entities took over Quail West in 2005,

after approximately half of the roughly 900 available residential lots had been developed and sold,

and much of the infrastructure had been completed, including a grand clubhouse with a restaurant

and spa, a tennis complex, and two 18 hole golf courses.




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         49.      According to Ginn marketing materials, the plan was to re-brand the project and

enhance the marketability of the remaining residential lots, by upgrading existing facilities and

adding an off-site beach club, with a restaurant, pool, and a marina with boat slips.

         C.       The Original Financing Plan and the Impact of Hurricane Wilma

         50.      Originally, Ginn and Lubert-Adler intended to use Tesoro and Quail West lot sales

to finance the completion/upgrading of the developments’ respective infrastructure and facilities,

with profits – if any – to be taken upon completion of each project.

         51.      In October 2005, Ginn and Lubert-Adler held an extravagant “launch” event at Tesoro

and succeeded in obtaining sales reservations or contracts for most of the remaining residential lots.

         52.      Later that month, however, Hurricane Wilma struck the areas in which Tesoro and

Quail West are located, impacting both the developments themselves and the real estate markets in

Port St. Lucie and Naples, Florida.

         53.      The vast majority of the Tesoro sales reservations and contracts pending at that time,

and the vast majority of the Quail West sales reservations and contracts obtained at a “launch” event

held later that year, either were subsequently cancelled or otherwise failed to close.

         54.      That, in turn, prompted Ginn and Lubert-Adler to begin searching for alternate ways

to finance the completion/upgrading of the developments’ respective infrastructure and facilities.

         55.      That search ultimately led to Credit Suisse, which offered them the opportunity

to “recapitalize” and take “profits” out of Tesoro, Quail West, and the three other Projects,

long before any of the Projects were to be completed, at a time when real estate markets were

collapsing and it was uncertain whether any “profits” would in fact be realized.6/




         6/
          This opportunity was particularly appealing to Lubert-Adler, as it enabled Lubert-Adler to artificially enhance
the financial performance of Funds III and IV, at a time when it was actively seeking to raise capital for Fund V.

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       D.      The Credit Suisse Loan Transaction

       56.     On or about June 8, 2006, Credit Suisse, Ginn, and Lubert-Adler representatives

reached agreement as to the terms of a complex, multi-tiered, syndicated loan transaction in which

Credit Suisse lent $675 million to Ginn-LA CS Borrower, LLC and Ginn-LA Conduit Lender, Inc.,

with the Debtors and Other Project Entities serving as “Full Recourse Borrowing Parties”

(i.e., co-borrowers).

       57.     Ginn-LA CS Borrower, LLC and Ginn-LA Conduit Lender, Inc. were shell companies

formed shortly prior to the closing of the loan transaction, to facilitate the transaction and the

transfers contemplated thereby.

       58.     Ginn-LA CS Borrower, LLC, a Delaware limited liability company, became the

immediate “parent” of the Tesoro and Quail West Debtors, as well as the River Club / Gardens and

Laurelmor Project entities, and served as a conduit for a portion of the loan proceeds.

       59.     Ginn-LA Conduit Lender, Inc., a Delaware corporation, became part of the corporate

structure which held the assets of the Ginn Sur Mer Project entities, and also served as a conduit for

a portion of the loan proceeds.

       60.     The principal loan transaction documents were a First Lien Credit Agreement and a

Second Lien Credit Agreement, both of which contained a choice of law provision purporting to

invoke New York law.

       61.     The First Lien Credit Agreement extended a total of $525 million in financing, in the

form of a $165 million synthetic revolving loan and a $360 million first lien term loan.

       62.     The Second Lien Credit Agreement extended an additional $150 million in financing,

in the form of a second lien term loan.




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         63.     Significantly, the Credit Suisse loan transaction documents overtly contemplated that

less than a quarter of the loan proceeds would be used for working capital or development purposes.

Under the First and Second Lien Credit Agreements, only the $165 million synthetic revolving loan

was to be maintained in a deposit account “to fund general company and working capital needs” and

“to finance a portion of the development, construction and other costs associated with each Project.”

The remaining $510 million in loan proceeds was required to be utilized to pay transaction costs,

to replace existing third-party debt, and to make distributions to the equity owners of the Projects,

i.e., insiders and affiliates of the Debtors and Other Project Entities.

         64.     According to Ginn / Lubert-Adler records obtained prior to the filing of this action,

no portion of the $165 million revolving loan was distributed at the closing of the loan transaction.

By contrast, the $510 million in first lien and second lien term loan proceeds was distributed in its

entirety at closing, as follows:

 Description                                                                                          Amount
 Credit Suisse Loan Fee and Other Closing Costs                                                 $23,446,764.94
 Replacement of Existing Third-Party Debt                                                      $158,291,252.86
 Distributions to Ginn / Lubert-Adler Entities                                                 $328,261,982.20
 Total                                                                                         $510,000,000.00

         65.     Nonetheless, to induce Credit Suisse to extend the loans, each of the Debtors and

Other Project Entities was required to execute a guaranty rendering it jointly and severally liable for

the full $675 million loan amount, and to grant liens on substantially all of its assets.

         66.     Although Credit Suisse was the entity to whom the guaranties and liens were issued,

the Defendants – who stood to receive the lion’s share of the loan proceeds – were the entities for

whose benefit the guaranties and liens were issued.



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           E.        How the Loan Proceed Distributions Were Debited and Credited
                     Among the Projects

           67.       According to Ginn and Lubert-Adler, the portion of the Credit Suisse loan proceeds

which they took out at closing was debited and credited among the Projects as follows:

Transferee /               Tesoro          Quail West      River Club        Laurelmor        Gin sur Mer            Total
Allocation                                                  / Gardens

Ginn “Promote”            $5,357,044.85    $1,785,681.62           $0.00             $0.00               $0.00     $7,142,726.47


Lubert-Adler Debt                 $0.00   $19,675,813.02   $25,576,449.47   $51,105,603.89               $0.00    $96,357,866.38
Pay-Off

Lubert-Adler                      $0.00    $1,394,436.65    $2,918,102.88    $3,340,144.56               $0.00     $7,652,684.09
Accrued Interest

Lubert-Adler Equity      $76,298,706.81    $8,611,730.28    $3,397,383.42   $11,175,677.33    $71,240,826.58     $170,724,324.42


Lubert-Adler              $6,384,354.18      $909,513.44     $973,204.19      $973,204.19      $4,298,201.28      $13,538,477.28
Preferred Return

Lubert-Adler Profit      $21,413,194.24    $6,997,723.04           $0.00             $0.00               $0.00    $28,410,917.28


Subtotal                $109,453,300.09   $39,374,898.05   $32,302,126.24   $66,594,629.97    $75,539,027.86     $323,263,982.20


Overhead /                                                                                                         $4,998,000.00
Post-Closing Costs

Grand Total                                                                                                      $328,261,982.20



           68.       In other words, of the loan proceeds that Ginn and the Lubert-Adler entities took out

for themselves and their investors, the Tesoro Debtors were credited with having borrowed

$109,453,300.09, and the Quail West Debtors were credited with having borrowed $39,374,898.05,

making for a combined total of $148,828,198.14, or approximately 45.33% of the total distributed

amount, $328,261,982.20.7/


           7/
          The Lubert-Adler distributions for Tesoro were divided among the Lubert-Adler Fund III Entities as follows:
Lubert-Adler Real Estate Fund III, L.P., 86.0689%; Lubert-Adler Real Estate Parallel Fund III, L.P., 1.8429%;
and Lubert-Adler Capital Real Estate Fund, III, L.P., 12.0882%. The Lubert-Adler distributions for Quail West
were divided among the Fund III & IV Entities as follows: Lubert-Adler Real Estate Fund III, L.P., 43.0344%;
Lubert-Adler Real Estate Parallel Fund III, L.P., 0.9215%; Lubert-Adler Capital Real Estate Fund, III, L.P., 6.0441%;
Lubert-Adler Real Estate Fund IV, L.P., 45.6057%; Lubert-Adler Real Estate Parallel Fund IV, L.P., 1.4002%;
and Lubert-Adler Capital Real Estate Fund, IV, L.P., 2.9941%. Lubert-Adler has, to this point, refused to disclose
precisely how those distributions were allocated among the numerous Lubert-Adler Fund III & IV Investors.
Once that information is obtained, leave will be sought to serve an amended pleading incorporating it, if necessary.

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        F.       The Fraudulent Nature of the Loans and Transfers at Issue

                 (1)      The Purpose and Effect of the Loan Transaction

        69.      Typically, for a developer to make money on a development project, he must

overcome a series of hurdles, some of which may be unforseen at the time the project is commenced.

The developer must, among other things, construct the project at a cost which is reasonable relative

to the anticipated market for sales, successfully market his product to potential purchasers,

and avoid the vagaries of development work, such as changes in economic conditions,

catastrophic weather events, and other events which can increase costs, suppress demand,

and/or lead real estate markets into a downturn.

        70.      When a developer stands to take profits only “at the end” of a development project,

it incentivizes the work necessary to achieve successful completion of the project.

        71.      Moreover, when a developer is well-capitalized and his profits are “in the project,”

both the developer and his creditors enjoy a measure of protection in the event the unforseen occurs.

        72.      In the present case, what Ginn and the Lubert-Adler entities found in Credit Suisse

– the opportunity to “recapitalize” and take “capital contributions,” “interest,” “preferred return,”

and “profits” out of the Projects, long before they were to be completed – effectively eliminated any

meaningful incentive to do the things necessary to successfully complete the Projects.

        73.      Similarly, in the wake of the Credit Suisse loans and the transfers made incident

thereto, the Debtors and Other Project Entities – and their creditors – were left without a measure

of protection in the event the unforseen (or, in this case, the foreseen) were to occur.

        74.      Quite the contrary, the transaction was specifically designed to enable the Defendants

to loot the Debtors and Other Project Entities, and to shift the risks associated with their Projects

to creditors.


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        75.      Indeed, the Lubert-Adler Defendants candidly acknowledged as much in a “Memo”

from Lubert-Adler Partners, L.P. to the Lubert-Adler Fund III and IV Advisory Boards,

quasi-legislative bodies comprised of large-dollar Fund III and IV investors, which serve to represent

the interests of all Fund III and IV investors, respectively.

        76.      The stated purpose of the “Memo” was to gain the approval of the Advisory Boards

to consummate the loan transaction, which it characterized as having three principal “goals” and

“objectives”:

        (A)      “The removal of all guarantee exposure to Bobby Ginn, Lubert-Adler Fund
                 III and Lubert-Adler Fund IV,” by “paying off all existing recourse debt” and
                 replacing it with debt that was recourse only at the Project level;

        (B)      “[To establish] a revolving credit facility . . . [t]o pay a portion of the
                 development and construction costs associated with the [Projects]”; and

        (C)      “[To fund] an immediate dividend” of more than $325,000,000, which
                 would enable (i) “[t]he immediate mitigation of 100% of the capital risk,
                 through the repayment of all invested equity and bridge fundings,”
                 and (ii) “the harvesting of profits” on an “accelerated” basis.

In addition, the “Memo” also expressed an “inten[t] to reserve [$75,000,000] of otherwise

distributable loan proceeds as a sort of contingency fund that could be used to ‘balance’ the loans

in the event that the Projects collectively fail to perform as anticipated.”

        77.      Needless to say, Lubert-Adler obtained the approval of the Advisory Boards

to consummate the loan transaction, and the transaction proceeded, with one significant caveat.

Lubert-Adler did not reserve $75,000,000 “as a sort of contingency fund that could be used

to ‘balance” the loans in the event that the Projects collectively fail to perform as anticipated.”

Instead, it “harvested” that $75,000,000 for itself and its investors, leaving Project creditors with

a virtual certainty of loss.




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               (2)      The Loan Appraisals and Underlying Sales Projections

       78.     Ginn and Lubert-Adler records indicate that the Credit Suisse loan amounts

were predicated upon Cushman & Wakefield appraisals of the “Total Net Value” of the five Projects;

a novel valuation methodology Credit Suisse developed in conjunction with Cushman & Wakefield

in order to enhance the marketability of its syndicated loan product.

       79.     The Cushman & Wakefield appraisals defined the “Total Net Value” of each Project

as “the sum of the market value of the bulk lots of the entire planned community, as if all of the bulk

lots were complete . . . and available for sale to merchant builders, as of the date of the appraisal,”

without deduction or discounting for pertinent risk factors or the time value of money.

       80.     In other words, the “Total Net Value” methodology was designed to generate a value

which significantly exceeded the actual as-is fair market value of the property interests being valued,

thus enabling the proposed loan to be marketed as having a much lower “loan-to-value” ratio than

would otherwise have been possible using a traditional market valuation of the proposed collateral.

       81.     For example, whereas the St. Lucie County Property Appraiser assessed the value of

all Tesoro real and tangible property in 2006 to be $74,910,626, Cushman & Wakefield’s appraisal

of the “Total Net Value” of just the unsold Tesoro lots as of April 14, 2006 was $210,000,000.

       82.     As a consequence, the Credit Suisse loans did not comply with U.S. banking laws,

such as the Financial Institutions Recovery Reform Act of 1989, which provides that, before a

regulated financial institution may make or invest in a loan secured by real estate, the loan must be

supported by an appraisal reflecting a traditional market valuation of the proposed collateral.

       83.     To circumvent that requirement, Credit Suisse coordinated the loans through its

“Cayman Islands Branch,” an off-shore “affiliate” with no physical presence in the Cayman Islands,

and syndicated the loan product to non-regulated entities, such as hedge funds.


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       84.     To make matters worse, the Ginn and Lubert-Adler sales projections supplied to

Credit Suisse and Cushman & Wakefield for use in appraising the “Total Net Value” of the Projects

had no basis in historical reality, and were vastly overstated.

       85.     For instance, although Ginn and Lubert-Adler missed their original projections for

the Tesoro East “launch” by a huge margin – they had projected 421 lot closings by January 31, 2006

but achieved fewer than 40, with the real estate market in Port St. Lucie worsening with every day–

the projections supplied to “support” the loans forecasted 74 lot and condominium unit closings

during the second half of 2006 alone, and 290 more by the end of 2008. In actuality, they achieved

fewer than 40 additional lot closings, and 0 condominium unit closings, through the end of 2008.

       86.     Respectfully, under the circumstances, these overstatements cannot be excused as

merely innocent or accidental. They were deliberate.

       87.     In April 2006, approximately six weeks prior to the closing of the loan transaction,

Ginn, Adler, and others received a memorandum from outside attorney John G. “Sonny” Morris

entitled “CSFB Financing / Concerns About Repayment and Presales,” which foreshadowed

a series of problems the proposed borrowers could expect to encounter given the size of the loans

they were attempting to procure, and the terms of the loans then under discussion.

       88.     The following month, after having spoken to Dean Adler, Morris further reported that

“[Adler] is greatly concerned that a failure to meet projections will result in a default.”

       89.     Likewise, the Ginn-LA C.F.O. – John P. Klumph – also expressed “concerns” that

“the Lenders could second guess the completeness of the [pre-loan] disclosure” in light of a failure

to account for dozens of Tesoro and Quail West contract cancellations. He then advised that

“[i]n the detailed reports to be provided going forward [he was] planning to show total contracts and

cancellations for 2006 only as of year end so as not to draw unwarranted attention to the issue.”


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        90.     Lubert-Adler principal Robert Rosenberg even went so far as to suggest that

Lubert-Adler use the recent real estate market downturn as a selling point in its efforts to obtain

approval from the Fund III and IV Advisory Boards to consummate the loan transaction.

In his words: “[W]e could point out that the pace of sales at Tesoro has recently begun to slow,

thereby making it increasingly likely that the Fund III investors will not get to a $36M profit point

in the near-term future [absent the loans and ‘the harvesting of profits’ on an ‘accelerated’ basis].”

        91.     In fact, Credit Suisse was so anxious about “market conditions” in June 2006 that

it strenuously advised against “any kind of delay” or “any material change in structure [that] may

cause us to have to go back out to investors and reconfirm their orders.”

        92.     Suffice it to say, Ginn, Lubert-Adler, and Credit Suisse all knew the projections

submitted to “support” the loans did not remotely account for “market conditions” at the time.

        93.     Further, based on information obtained regarding Ginn and Lubert-Adler sales efforts,

it is believed that Ginn and Lubert-Adler used a variety of deceptive practices to obtain sales of

Tesoro and Quail West lots/units at artificially-inflated prices, and then used those sales as

“comparables” in establishing the projections supplied to Credit Suisse and Cushman & Wakefield

of anticipated average closing prices for the remaining available lots/units in the Projects.

        94.     Indeed, after the closing of the loan transaction, Ginn reportedly boasted that it was

“the best sales job of [his] life.”

        95.     And when the Tesoro Club’s General Manager at the time learned of the loans and

the sales projections upon which the loan amounts and repayment schedule had been established,

he knew the Tesoro Project was “doomed to failure.”

        96.     The Tesoro Club’s General Manager was, of course, correct. And the same is true

of Quail West, as well.


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               (3)      The Impact of the Transfers at Issue

       97.     As noted above, of the loan proceeds which the Ginn and Lubert-Adler Defendants

took out for themselves and their investors, the Tesoro Debtors were credited with having borrowed

$109,453,300, and the Quail West Debtors were credited with having borrowed $39,374,898.

       98.     The Tesoro Debtors did not receive fair consideration or reasonably equivalent value

for the transfer of the $109,453,300, the guaranties they were required to execute which rendered

them jointly and severally liable for the full $675,000,000 loan amount, or the liens they were

required to issue on substantially all of their assets (the “Tesoro Asset Transfers”).

       99.     The Quail West Debtors also did not receive fair consideration or reasonably

equivalent value for the transfer of the $39,374,898, the guaranties they were required to execute

which rendered them jointly and severally liable for the full $675,000,000 loan amount, or the liens

they were required to issue on substantially all of their assets (the “Quail West Asset Transfers”).

       100.    The Ginn and Lubert-Adler Defendants knew or turned a blind eye to the fact that,

if the Tesoro Debtors and Quail West Debtors were not already insolvent at the time of

the Tesoro and Quail West Asset Transfers, they would each be rendered insolvent thereby,

and would be left much too thinly capitalized to survive. Which is precisely what occurred.

       101.    As of September 30, 2006, the entities formed to recapitalize and hold the Projects

had a combined net balance sheet deficit – i.e., they were in the “red” – to the tune of $154,228,629.

By December 31, 2006, that combined net balance deficit had grown to $227,643,417.

       102.    As a result, the Debtors and Other Project Entities lacked sufficient capital to fund

normal development operations and were unable to make required loan payments as they came due,

leading to a series of defaults and efforts to restructure the loans, which ultimately proved

unsuccessful in keeping the entities afloat.


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                (4)      The Initial Efforts to Restructure the Loans

        103.    Ginn and Lubert-Adler records reveal that, during the third quarter of 2006,

total net revenues at Tesoro and Quail West – the most “mature” of the five Projects – were

approximately 3% of forecasted amounts.

        104.    By the end of the 2006, the “Borrowing Parties” had already initiated discussions

aimed at a restructuring of the loans, so as to enable them to comply with certain financial covenants

and avoid going into default.

        105.    In addition, during the same time period, the “Borrowing Parties” also engaged in

the first of a series of related party transactions in which the Debtors and Other Project Entities

would sell off condominium parcels in bulk to affiliates to generate needed cash to “feed” the loans

and fund development expenses.

        106.    By mid-2007, Ginn and Lubert-Adler were formally reporting to the Lenders that

“[t]he slowdown in the residential real estate markets ha[d] adversely impacted the Borrower’s

project sales and, as a result, its ability to comply with the terms of the existing credit agreements.”

In addition, they also acknowledged that, “[d]ue to the significant shortfall in expected sales to date,

the Borrower must source outside capital in order to fund the key infrastructure and amenities costs.”

        107.    Notably, however, at no time did Ginn or Lubert-Adler seek to “claw back”

and inject into the Projects any portion of the $323,263,982 of loan proceeds which they took out

as return of capital, interest, preferred return, or profit.

        108.    Rather, “the Borrower [sought] to shift financial responsibility for certain

infrastructure and amenity costs to others” through the related party sale/purchase transactions

described above.




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       109.    Early the following year, as it became harder for Ginn and Lubert-Adler to deny that

they had, in fact, “doomed” the Projects “to failure,” the Ginn-LA C.F.O., John P. Klumph,

sent an email to three of “Sonny” Morris’ law partners, asking:

       Would you gentlemen please check and see what solvency certificates I have signed
       for cs [i.e., Credit Suisse] and if there may be any individual liability that could
       possibly accrue?

       Cass, indemnity agreements.

“Cass” – a.k.a. Cassady V. Brewer – promptly replied, “Roger. I am escalating the subject (again),”

and forwarded the email to Morris, with the preface:

       John wants the Rob Gidel strength indemnity agreement. He has a normal indemnity
       agreement from [Ginn Development Company], but it is not guaranteed by
       Lubert-Adler like Rob’s. I do not think we can duck this issue any longer.


       110.    Similarly, a few months later, Ginn-LA “restructuring” counsel strongly advised

against any pre-packaged reorganization plan which did not include a “release” broad enough

to cover a “fraudulent conveyance claim” relating to the Credit Suisse loan proceeds “dividend.”

For, in counsel’s words:

       •       the Borrowing Parties were “left insolvent by [the] dividend”;

       •       a Trustee would, therefore, have a “fraudulent conveyance claim” regarding
               the “dividend”;

       •       “nonrecourse [does] not mean can not sue”; and

       •       Trustees can “file complaints that are horrible.”


       111.    Ultimately, however, Ginn and Lubert-Adler were unable to achieve a reorganization

for the “Borrowing Parties” which included such a “release,” forcing them to improvise in

anticipation of the present liquidation proceedings.




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                (5)      The Master Restructuring Agreement

       112.     On December 19, 2008, Credit Suisse, the underlying Lenders, and a number of

Ginn-LA entities, including the Tesoro and Quail West Debtors and the Other Project Entities,

entered into a Master Restructuring Agreement (“MRA”).

       113.     The MRA expressly contemplated that each of the Tesoro and Quail West Debtors

would file a voluntary petition under Chapter 7 of the Bankruptcy Code.

       114.     In addition, the MRA also expressly contemplated that the Trustee(s) appointed for

the Debtors’ Estates would pursue actions against Ginn / Lubert-Adler entities, such as this case.

       115.     Indeed, Ginn and Lubert-Adler specifically bargained for a contractual provision

designed to limit the claims which could be asserted against any recovery in this proceeding,

in the hope that doing so would operate to minimize their ultimate exposure:

       Waiver of Recovery Regarding Certain Bankruptcy Claims. . . . [I]n the event that the
       trustee of the Tesoro and/or Quail West bankruptcy estates is successful in pursuing
       actual or threatened litigation against any of the Borrower Released Parties or the
       Other Ginn/LA Released Parties, [Credit Suisse] and the [loan participants], on
       behalf of themselves and their respective heirs, executors, administrators, successors
       and assigns, hereby waive any right to receive any of the proceeds thereof arising
       from settlement, judgment or otherwise.

MRA, ¶ 3(f).

                (6)      The Filing of the Underlying Bankruptcy Proceedings

       116.     On December 23, 2008, the Tesoro and Quail West Debtors filed voluntary petitions

under Chapter 7 of the Bankruptcy Code.

       117.     As of that date of those petitions, each of the Debtors was jointly and severally liable

with the Other Project Entities for loan principal and interest totaling $715,986,962.07, with liens

on substantially all of their assets, and no hope of recovery.




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      COUNT I - AVOIDANCE OF FRAUDULENT TESORO ASSET TRANSFERS
      (11 U.S.C. § 544(b) and New York Debtor and Creditor Law §§ 276, 278(1)(a))

        118.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117

as if fully set forth herein.

        119.    Under the control of Ginn and the Lubert-Adler entities, the Tesoro Debtors made the

Tesoro Asset Transfers with actual intent to hinder, delay, or defraud present and future creditors.

        120.    As set forth in greater detail above, the Tesoro Asset Transfers were specifically

designed to shift the risks associated with the development of the Tesoro Project to creditors, and

left those creditors with a virtual certainty of loss.

        121.    Ginn and the Lubert-Adler entities either knew or turned a blind eye to the fact that,

if the Tesoro Debtors were not already insolvent at the time of the Tesoro Asset Transfers, they

would be rendered insolvent thereby, and would be left much too thinly capitalized to survive.

Which is precisely what occurred.

        122.    The Tesoro Asset Transfers were, therefore, fraudulent as to both creditors existing

at the time of the transfers, and persons who became creditors thereafter.

        123.    Each of the Tesoro Debtors had at least one actual creditor as of the time of

the Tesoro Asset Transfers holding an unsecured claim which is allowable within the meaning of

11 U.S.C. § 544(b), by whom the Tesoro Asset Transfers were voidable under applicable law,

including New York Debtor and Creditor Law §§ 276 and 278(1)(a).

        WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, avoiding the Tesoro Asset Transfers, awarding attorneys’ fees and expenses,

and granting any further relief deemed equitable and just.




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      COUNT II - AVOIDANCE OF FRAUDULENT TESORO ASSET TRANSFERS
     (11 U.S.C. § 544(b) and New York Debtor and Creditor Law §§ 273-275, 278(1)(a))

        124.     Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117

as if fully set forth herein.

        125.     The Tesoro Debtors did not receive fair consideration in exchange for the property

interests conveyed in the Tesoro Asset Transfers.

        126.     The Tesoro Debtors either were insolvent at the time of the Tesoro Asset Transfers

or were rendered insolvent as a result of the Tesoro Asset Transfers; were engaged in a business for

which the property remaining in their hands following the Tesoro Asset Transfers was unreasonably

small in relation to the capital requirements of that business; and, at the time of the Tesoro Asset

Transfers, intended to incur, or believed they would incur, debts beyond their ability to pay as those

debts matured.

        127.     The Tesoro Asset Transfers were, therefore, fraudulent as to both creditors existing

at the time of the transfers, and persons who became creditors thereafter.

        128.     Each of the Tesoro Debtors had at least one actual creditor as of the time of

the Tesoro Asset Transfers holding an unsecured claim which is allowable within the meaning of

11 U.S.C. § 544(b), by whom the Tesoro Asset Transfers were voidable under applicable law,

including New York Debtor and Creditor Law §§ 273-275, and 278(1)(a).

        WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, avoiding the Tesoro Asset Transfers, awarding attorneys’ fees and expenses,

and granting any further relief deemed equitable and just.




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     COUNT III - AVOIDANCE OF FRAUDULENT TESORO ASSET TRANSFERS
          (11 U.S.C. § 544(b) and Fla. Stat. §§ 726.106(1)(a), 726.108(1)(a))

        129.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117

as if fully set forth herein.

        130.    Under the control of Ginn and the Lubert-Adler entities, the Tesoro Debtors made the

Tesoro Asset Transfers with actual intent to hinder, delay, or defraud present and future creditors.

        131.    As set forth in greater detail above, the Tesoro Asset Transfers were specifically

designed to shift the risks associated with the development of the Tesoro Project to creditors, and

left those creditors with a virtual certainty of loss.

        132.    Ginn and the Lubert-Adler entities either knew or turned a blind eye to the fact that,

if the Tesoro Debtors were not already insolvent at the time of the Tesoro Asset Transfers, they

would be rendered insolvent thereby, and would be left much too thinly capitalized to survive.

Which is precisely what occurred.

        133.    The Tesoro Asset Transfers were, therefore, fraudulent as to both creditors existing

at the time of the transfers, and persons who became creditors thereafter.

        134.    Each of the Tesoro Debtors had at least one actual creditor as of the time of

the Tesoro Asset Transfers holding an unsecured claim which is allowable within the meaning of

11 U.S.C. § 544(b), by whom the Tesoro Asset Transfers were voidable under applicable law,

including Fla. Stat. §§ 726.106(1)(a) and 726.108(1)(a).

        WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, avoiding the Tesoro Asset Transfers, awarding attorneys’ fees and expenses,

and granting any further relief deemed equitable and just.




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     COUNT IV - AVOIDANCE OF FRAUDULENT TESORO ASSET TRANSFERS
       (11 U.S.C. § 544(b) and Fla. Stat. §§ 726.105(1), 726.106(1)(b), 726.108(1)(a))

        135.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117

as if fully set forth herein.

        136.    The Tesoro Debtors did not receive reasonably equivalent value in exchange for the

property interests conveyed in the Tesoro Asset Transfers.

        137.    The Tesoro Debtors either were insolvent at the time of the Tesoro Asset Transfers

or were rendered insolvent as a result of the Tesoro Asset Transfers; were engaged in a business for

which the property remaining in their hands following the Tesoro Asset Transfers was unreasonably

small in relation to the capital requirements of that business; and, at the time of the Tesoro Asset

Transfers, intended to incur, or believed or reasonably should have believed that they would incur,

debts beyond their ability to pay as those debts matured.

        138.    The Tesoro Asset Transfers were, therefore, fraudulent as to both creditors existing

at the time of the transfers, and persons who became creditors thereafter.

        139.    Each of the Tesoro Debtors had at least one actual creditor as of the time of

the Tesoro Asset Transfers holding an unsecured claim which is allowable within the meaning of

11 U.S.C. § 544(b), by whom the Tesoro Asset Transfers were voidable under applicable law,

including Fla. Stat. §§ 726.105(1), 726.106(1)(b), and 726.108(1)(a).

        WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, avoiding the Tesoro Asset Transfers, awarding attorneys’ fees and expenses,

and granting any further relief deemed equitable and just.




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      COUNT V - RECOVERY OF FRAUDULENT TESORO ASSET TRANSFERS
          FOR THE BENEFIT OF THE TESORO DEBTORS’ ESTATES
                           (11 U.S.C. § 550(a))

       140.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117,

119 through 123, 125 through 128, 130 through 134, and 136 through 139, as if fully set forth herein.

       141.    With respect to the Tesoro Asset Transfers, each of the Defendants was either an

initial transferee or entity for whose benefit the transfers were made under 11 U.S.C. § 550(a)(1);

or, alternatively, an immediate or mediate transferee within the meaning of 11 U.S.C. § 550(a)(2).

       142.    To the extent that any Defendant was or is found to be an immediate or mediate

transferee within the meaning of 11 U.S.C. § 550(a)(2), such Defendant was not a transferee who

took for value, in good faith, without knowledge of the voidability of the transfer, within the

meaning of 11 U.S.C. § 550(b)(1); or an immediate or mediate good faith transferee thereof within

the meaning of 11 U.S.C. § 550(b)(2).

       WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, awarding, for the benefit of the Tesoro Debtors’ Estates, the value of the

property interests conveyed in the Tesoro Asset Transfers, plus pre- and post-judgment interest,

attorneys’ fees and expenses, and any further relief deemed equitable and just.




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  COUNT VI - AVOIDANCE OF FRAUDULENT QUAIL WEST ASSET TRANSFERS
    (11 U.S.C. § 544(b) and New York Debtor and Creditor Law §§ 276, 278(1)(a))

        143.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117

as if fully set forth herein.

        144.    Under the control of Ginn and the Lubert-Adler entities, the Quail West Debtors made

the Quail West Asset Transfers with actual intent to hinder, delay, or defraud present and future

creditors.

        145.    As set forth in greater detail above, the Quail West Asset Transfers were specifically

designed to shift the risks associated with the development of the Quail West Project to creditors,

and left those creditors with a virtual certainty of loss.

        146.    Ginn and the Lubert-Adler entities either knew or turned a blind eye to the fact that,

if the Quail West Debtors were not already insolvent at the time of the Quail West Asset Transfers,

they would be rendered insolvent thereby, and would be left much too thinly capitalized to survive.

Which is precisely what occurred.

        147.    The Quail West Asset Transfers were, therefore, fraudulent as to both creditors

existing at the time of the transfers, and persons who became creditors thereafter.

        148.    Each of the Quail West Debtors had at least one actual creditor at the time of the

Quail West Asset Transfers holding an unsecured claim which is allowable within the meaning of

11 U.S.C. § 544(b), by whom the Quail West Asset Transfers were voidable under applicable law,

including New York Debtor and Creditor Law §§ 276 and 278(1)(a).

        WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, avoiding the Quail West Asset Transfers, awarding attorneys’ fees and

expenses, and granting any further relief deemed equitable and just.



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  COUNT VII - AVOIDANCE OF FRAUDULENT QUAIL WEST ASSET TRANSFERS
    (11 U.S.C. § 544(b) and New York Debtor and Creditor Law §§ 273-275, 278(1)(a))

        149.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117

as if fully set forth herein.

        150.    The Quail West Debtors did not receive fair consideration in exchange for the

property interests conveyed in the Quail West Asset Transfers.

        151.    The Quail West Debtors either were insolvent at the time of the Quail West Asset

Transfers or were rendered insolvent as a result of the Quail West Asset Transfers; were engaged in

a business for which the property remaining in their hands following the Quail West Asset Transfers

was unreasonably small in relation to the capital requirements of that business; and, at the time of

the Quail West Asset Transfers, intended to incur, or believed they would incur, debts beyond their

ability to pay as those debts matured.

        152.    The Quail West Asset Transfers were, therefore, fraudulent as to both creditors

existing at the time of the transfers, and persons who became creditors thereafter.

        153.    Each of the Quail West Debtors had at least one actual creditor at the time of the

Quail West Asset Transfers holding an unsecured claim which is allowable within the meaning of

11 U.S.C. § 544(b), by whom the Quail West Asset Transfers were voidable under applicable law,

including New York Debtor and Creditor Law §§ 273-275, and 278(1)(a).

        WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, avoiding the Quail West Asset Transfers, awarding attorneys’ fees and

expenses, and granting any further relief deemed equitable and just.




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 COUNT VIII - AVOIDANCE OF FRAUDULENT QUAIL WEST ASSET TRANSFERS
          (11 U.S.C. § 544(b) and Fla. Stat. §§ 726.106(1)(a), 726.108(1)(a))

        154.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117

as if fully set forth herein.

        155.    Under the control of Ginn and the Lubert-Adler entities, the Quail West Debtors made

the Quail West Asset Transfers with actual intent to hinder, delay, or defraud present and future

creditors.

        156.    As set forth in greater detail above, the Quail West Asset Transfers were specifically

designed to shift the risks associated with the development of the Quail West Project to creditors,

and left those creditors with a virtual certainty of loss.

        157.    Ginn and the Lubert-Adler entities either knew or turned a blind eye to the fact that,

if the Quail West Debtors were not already insolvent at the time of the Quail West Asset Transfers,

they would be rendered insolvent thereby, and would be left much too thinly capitalized to survive.

Which is precisely what occurred.

        158.    The Quail West Asset Transfers were, therefore, fraudulent as to both creditors

existing at the time of the transfers, and persons who became creditors thereafter.

        159.    Each of the Quail West Debtors had at least one actual creditor at the time of the

Quail West Asset Transfers holding an unsecured claim which is allowable within the meaning of

11 U.S.C. § 544(b), by whom the Quail West Asset Transfers were voidable under applicable law,

including Fla. Stat. §§ 726.106(1)(a) and 726.108(1)(a).

        WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, avoiding the Quail West Asset Transfers, awarding attorneys’ fees and

expenses, and granting any further relief deemed equitable and just.



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  COUNT IX - AVOIDANCE OF FRAUDULENT QUAIL WEST ASSET TRANSFERS
     (11 U.S.C. § 544(b) and Fla. Stat. §§ 726.105(1), 726.106(1)(b), 726.108(1)(a))

        160.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117

as if fully set forth herein.

        161.    The Quail West Debtors did not receive reasonably equivalent value in exchange for

the property interests conveyed in the Quail West Asset Transfers.

        162.    The Quail West Debtors either were insolvent at the time of the Quail West Asset

Transfers or were rendered insolvent as a result of the Quail West Asset Transfers; were engaged in

a business for which the property remaining in their hands following the Quail West Asset Transfers

was unreasonably small in relation to the capital requirements of that business; and, at the time of

the Quail West Asset Transfers, intended to incur, or believed or reasonably should have believed

that they would incur, debts beyond their ability to pay as those debts matured.

        163.    The Quail West Asset Transfers were, therefore, fraudulent as to both creditors

existing at the time of the transfers, and persons who became creditors thereafter.

        164.    Each of the Quail West Debtors had at least one actual creditor at the time of the

Quail West Asset Transfers holding an unsecured claim which is allowable within the meaning of

11 U.S.C. § 544(b), by whom the Quail West Asset Transfers were voidable under applicable law,

including Fla. Stat. §§ 726.105(1), 726.106(1)(b), and 726.108(1)(a).

        WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, avoiding the Quail West Asset Transfers, awarding attorneys’ fees and

expenses, and granting any further relief deemed equitable and just.




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   COUNT X - RECOVERY OF FRAUDULENT QUAIL WEST ASSET TRANSFERS
       FOR THE BENEFIT OF THE QUAIL WEST DEBTORS’ ESTATES
                          (11 U.S.C. § 550(a))

       165.    Trustee Dillworth repeats and re-alleges the allegations in paragraphs 1 through 117,

144 through 148, 150 through 153, 155 through 159, and 161 through 164, as if fully set forth herein.

       166.    With respect to the Quail West Asset Transfers, each of the Defendants was either

an initial transferee or entity for whose benefit the transfers were made under 11 U.S.C. § 550(a)(1);

or, alternatively, an immediate or mediate transferee within the meaning of 11 U.S.C. § 550(a)(2).

       167.    To the extent that any Defendant was or is found to be an immediate or mediate

transferee within the meaning of 11 U.S.C. § 550(a)(2), such Defendant was not a transferee who

took for value, in good faith, without knowledge of the voidability of the transfer, within the

meaning of 11 U.S.C. § 550(b)(1); or an immediate or mediate good faith transferee thereof within

the meaning of 11 U.S.C. § 550(b)(2).

       WHEREFORE, Trustee Dillworth respectfully requests entry of a Judgment in his favor and

against the Defendants, awarding, for the benefit of the Quail West Debtors’ Estates, the value of

the property interests conveyed in the Quail West Asset Transfers, plus pre- and post-judgment

interest, attorneys’ fees and expenses, and any further relief deemed equitable and just.




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Dated: August 12, 2010                          Respectfully submitted,

                                                STEARNS WEAVER MILLER WEISSLER
                                                 ALHADEFF & SITTERSON, P.A.

                                                Attorneys for Drew M. Dillworth,
                                                Chapter 7 Trustee of the Tesoro Debtors’ Estates
                                                and the Quail West Debtors’ Estates

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                                                I hereby certify that I am admitted to the Bar of
                                                the United States District Court for the Southern District
                                                of Florida and I am in compliance with the additional
                                                qualifications to practice in this Court set forth in
                                                Local Rule 2090-1(A).



                                                By:                /s/
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